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 Attorneys for Plaintiff
 UNITED STATES OF AMERICA

                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,            ) CR. NO. 17-00101 LEK
                                      )
                   Plaintiff,         )
                                      ) [PROPOSED] VERDICT FORM
       vs.                            )
                                      )
 ANTHONY T. WILLIAMS,                 )
                                      )
                   Defendant.         )
                                      )
                                      )

                                VERDICT FORM
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 AS TO COUNT 1 (Wire Fraud):

       As to the offense of wire fraud as charged in Count 1 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty



 AS TO COUNT 2 (Wire Fraud):

       As to the offense of wire fraud as charged in Count 2 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty



 AS TO COUNT 3 (Wire Fraud):

       As to the offense of wire fraud as charged in Count 3 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty



 AS TO COUNT 4 (Wire Fraud):

       As to the offense of wire fraud as charged in Count 4 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty




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 AS TO COUNT 5 (Wire Fraud):

       As to the offense of wire fraud as charged in Count 5 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty



 AS TO COUNT 6 (Wire Fraud):

       As to the offense of wire fraud as charged in Count 6 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty



 AS TO COUNT 7 (Wire Fraud):

       As to the offense of wire fraud as charged in Count 7 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty



 AS TO COUNT 8 (Wire Fraud):

       As to the offense of wire fraud as charged in Count 8 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty




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 AS TO COUNT 9 (Wire Fraud):

       As to the offense of wire fraud as charged in Count 9 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty



 AS TO COUNT 10 (Wire Fraud):

       As to the offense of wire fraud as charged in Count 10 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty



 AS TO COUNT 11 (Wire Fraud):

       As to the offense of wire fraud as charged in Count 11 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty



 AS TO COUNT 12 (Wire Fraud):

       As to the offense of wire fraud as charged in Count 12 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty




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 AS TO COUNT 13 (Wire Fraud):

       As to the offense of wire fraud as charged in Count 13 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty



 AS TO COUNT 14 (Wire Fraud):

       As to the offense of wire fraud as charged in Count 14 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty



 AS TO COUNT 15 (Wire Fraud):

       As to the offense of wire fraud as charged in Count 15 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty



 AS TO COUNT 16 (Mail Fraud):

       As to the offense of mail fraud as charged in Count 16 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty




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 AS TO COUNT 17 (Mail Fraud):

       As to the offense of mail fraud as charged in Count 17 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty



 AS TO COUNT 18 (Mail Fraud):

       As to the offense of mail fraud as charged in Count 18 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty



 AS TO COUNT 19 (Mail Fraud):

       As to the offense of mail fraud as charged in Count 19 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty



 AS TO COUNT 20 (Mail Fraud):

       As to the offense of mail fraud as charged in Count 20 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty




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 AS TO COUNT 21 (Mail Fraud):

       As to the offense of mail fraud as charged in Count 21 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty



 AS TO COUNT 22 (Mail Fraud):

       As to the offense of mail fraud as charged in Count 22 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty



 AS TO COUNT 23 (Mail Fraud):

       As to the offense of mail fraud as charged in Count 23 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty



 AS TO COUNT 24 (Mail Fraud):

       As to the offense of mail fraud as charged in Count 24 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty




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 AS TO COUNT 25 (Mail Fraud):

       As to the offense of mail fraud as charged in Count 25 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty



 AS TO COUNT 26 (Mail Fraud):

       As to the offense of mail fraud as charged in Count 26 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty



 AS TO COUNT 27 (Mail Fraud):

       As to the offense of mail fraud as charged in Count 27 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty



 AS TO COUNT 28 (Mail Fraud):

       As to the offense of mail fraud as charged in Count 28 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty




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 AS TO COUNT 29 (Mail Fraud):

       As to the offense of mail fraud as charged in Count 29 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty



 AS TO COUNT 30 (Mail Fraud):

       As to the offense of mail fraud as charged in Count 30 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty



 AS TO COUNT 31 (Mail Fraud):

       As to the offense of mail fraud as charged in Count 31 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty



 AS TO COUNT 32 (Mail Fraud):

       As to the offense of mail fraud as charged in Count 32 of the Superseding
 Indictment, We, the jury, find the defendant, ANTHONY T. WILLIAMS:


       ____ Not Guilty    ____ Guilty




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       Please have the jury foreperson sign and date this Verdict Form and indicate

 to the bailiff that the jury has reached a verdict.

       DATED: February 20, 2020, at Honolulu, Hawaii.

                                                 KENJI M. PRICE
                                                 United States Attorney
                                                 District of Hawaii

                                                      /s/ Gregg Paris Yates
                                                 By _________________________
                                                    KENNETH M. SORENSON
                                                    GREGG PARIS YATES
                                                    Assistant U.S. Attorneys




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                             CERTIFICATE OF SERVICE

              I hereby certify that, on the dates and by the methods of service noted

 below, a true and correct copy of the foregoing was served on the following by the

 method indicated on the date of filing:

 Served Electronically through CM/ECF:

       Lars Isaacson, Esq.                           hawaii.defender@earthlink.net

       Attorney for Defendant
       ANTHONY T. WILLIAMS

 Served by First Class Mail on February 20, 2020:

       Anthony T. Williams
       Register No. 05963-122
       Inmate Mail
       FDC Honolulu
       PO Box 30080
       Honolulu, HI 96820

       DATED: February 20, 2020, at Honolulu, Hawaii.

                                              /s/ Dawn Aihara

                                              U.S. Attorney’s Office
                                              District of Hawaii
